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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    :
                                             :
        v.                                   : No. 21-CR-35-4 (EGS)
                                             :
 CLAYTON MULLINS,                            :
     Defendant.                              :



             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO
                  MODIFY RELEASE CONDITIONS OF RELEASE

       The United States, by and through its attorney, the Acting United States Attorney for the

District of Columbia, respectfully submits this opposition to Defendant’s Motion to Modify

Conditions of Pretrial Release. The government respectfully opposes the Defendant’s motion and

asks that the conditions of release remain the same. In support of its opposition, the Government

incorporates the arguments in its previous Emergency Motion to Stay and for Review and Appeal

of Release Order filed on March 1, 2021 (ECF No. 6, 21-mj-233-RMM) and March 2, 2021 (ECF

No. 10, 21-mj-233-RMM).

       1.       On February 13, 2021, Mullins was charged by complaint with: (1) Assaulting,

Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1); (2) Obstruction of

Law Enforcement During Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); (3) Knowingly

Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority, in

violation of 18 U.S.C. 1752(a)(1); (4) Disorderly and Disruptive Conduct in a Restricted Building

or Grounds, in violation of 18 U.S.C. § 1752(a)(2); (5) Engaging in Physical Violence in a

Restricted Building or Grounds, in violation of 18 U.S.C. 1752(a)(4); and (6) Violent Entry and

Disorderly Conduct on Capitol Grounds, in violation of 40 U.S.C. § 5104(e)(2)(F).


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       2.       On February 23, 2021, defendant Clayton Ray Mullins was arrested in his home

state of Kentucky on an arrest warrant issued from the United States District Court for the District

of Columbia by Magistrate Judge Robin M. Meriweather. On February 25, 2021, during the

defendant’s initial appearance in the Western District of Kentucky, the government made a motion

to detain the defendant without bond pending trial pursuant to 18 U.S.C. §§ 3142(e) and (f)(2). A

detention hearing was held on February 26, 2021, during which the presiding magistrate judge

denied the government’s detention motion and issued an order releasing the defendant with certain

conditions. Following this, the government filed an Emergency Motion to Stay and Review the

magistrate judge’s order.

       3.       On March 2, 2021, Chief Judge Beryl A. Howell ordered the defendant released on

his personal recognizance, with conditions of home detention and Global Positioning System

Monitoring. The Defendant’s current conditions of release permit the defendant to leave his

residence for employment; education; religious services; medical, substance abuse, or mental

health treatment; attorney visits; court appearances; court-ordered obligations; or other activities

approved in advance by the pretrial services office or supervising attorney. See ECF No. 11, 21-

mj-233-RMM.

       4.       On March 12, 2021, the defendant was indicted on charges of (1) Assaulting,

Resisting, or Impeding Certain Officers and Inflicting Bodily Injury and Aiding and Abetting, in

violation of 18 U.S.C. §§ 2, 111(a)(1) and (b); (2) Obstruction of Law Enforcement During Civil

Disorder, in violation of 18 U.S.C. § 231(a)(3); (3) Knowingly Entering or Remaining in any

Restricted Building or Grounds Without Lawful Authority, in violation of 18 U.S.C. 1752(a)(1);

(4) Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(2); (5) Engaging in Physical Violence in a Restricted Building or Grounds, in


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violation of 18 U.S.C. 1752(a)(4); and (6) Violent Entry and Disorderly Conduct on Capitol

Grounds, in violation of 40 U.S.C. § 5104(e)(2)(F).

       5.       The defendant’s current conditions of release allow him to care for himself and

support his family through his employment.          Indeed, the   government did not oppose the

defendant’s request to permit travel beyond the Western District of Kentucky for employment

purposes, as approved by the United States Pretrial Services Office in the Western District of

Kentucky. See ECF No. 66.

       6.       The Government appreciates that the Defendant has thus-far been compliant with

his conditions of release. However, his compliance is expected. Although any failure to comply

could result in revocation and being placed in no-bond status, it does not necessarily follow that

compliance should result in further reduction of the defendant’s conditions of release. Rather,

apparent compliance is some evidence that the defendant’s existing conditions are currently

working to ensure community safety.

       7.       There has been no change in the defendant’s physical or life circumstances that

decreases the danger he presents to the community. The defendant has demonstrated a tendency

toward violence and a willingness to impede and obstruct the right and lawful function of

government. The current conditions of release continue to balance allowing the defendant to

maintain his employment and care for himself, protecting the safety of the community, and

ensuring his continued appearance before the Court.




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       8.       For the foregoing reasons, the government respectfully requests that the Court deny

the defendant’s motion.

                                              Respectfully submitted,

                                              Channing D. Phillips
                                              Acting United States Attorney
                                              D.C. Bar No. 415793

                                               /s/ Colleen D. Kukowski
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                                  CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Opposition to Defendant’s Motion to Modify

Conditions of Release was served on all counsel of record via the Court’s electronic filing

service.

                                              /s/ Colleen D. Kukowski
                                              COLLEEN D. KUKOWSKI
                                              Assistant United States Attorney




Date: June 28, 2021




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